     Case 2:20-cr-00085-MHT-KFP Document 212 Filed 05/05/21 Page 1 of 3



     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                   )
                                           )      CRIMINAL ACTION NO.
        v.                                 )         2:20cr85-MHT
                                           )              (WO)
KAYLA ASHLEY MCCLELLAN                     )

                                      ORDER

      Based on the representations made on the record

during the videoconference hearing on May 5, 2021, it

is    ORDERED       that     defendant         Kayla   Ashley    McClellan’s

motion       for    release        pending       the    execution     of   her

sentence (Doc. 196) is granted.                    Pursuant to 18 U.S.C.

§§    3143(a)(2)           and 3145(c),         the    court     finds     that

defendant McClellan is not likely to flee or to pose a

danger to any other person or the community, and the

court    finds       that    exceptional         reasons     exist   why    her

detention          would     not      be       appropriate      pending    her

commitment date to the Bureau of Prisons.                            The only

concern raised by the government at the hearing was

that McClellan suffers from a drug addiction, which the

court    believes          can   be   addressed        by   appropriate    and
      Case 2:20-cr-00085-MHT-KFP Document 212 Filed 05/05/21 Page 2 of 3




strict       conditions           of      release,      including        home

confinement,            frequent         drug     testing,      and        the

understanding that if she tests positive for prohibited

substances,       she     will    be     immediately      re-arrested      and

returned to custody pending her commitment date.

       It is further ORDERED as follows:

       (1) Defendant        McClellan           will   remain     on     home

confinement during her release at the home of Preston

and Ashley Jones in Millbrook, Alabama, at the address

listed in the Pretrial Services Report (Doc. 149-3).

She may leave the home only with prior approval of her

probation officer or to obtain a COVID-19 vaccine in

the    custody     of    Preston       Jones,    Ashley    Jones,   or     her

probation officer.

       (2) Defendant McClellan shall abstain from all use

of alcohol or controlled substances during her release.

She     shall     submit     to        testing    as   directed     by     her

probation officer to ensure that she has not reverted

to the use of prohibited substances.

                                         2
   Case 2:20-cr-00085-MHT-KFP Document 212 Filed 05/05/21 Page 3 of 3




    (3) Defendant McClellan is to self-surrender to a

facility   designated      by   the    Bureau    of   Prisons     on    or

before 2:00 p.m. on June 24, 2021.

    DONE, this the 5th day of May, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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